                                            Case 3:07-cv-05944-JST Document 4482 Filed 03/14/16 Page 1 of 4




                                   1

                                   2

                                   3

                                   4                                UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                      Case No. C-07-5944 JST

                                   9                                                      ORDER RE: MOTION TO STRIKE
                                        This Order Relates To:                            PREVIOUSLY-EXCLUDED
                                  10                                                      DOCUMENTS
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13           On March 2, 2016, Mr. Mario N. Alioto, Lead Counsel for the Indirect Purchaser Plaintiffs

                                  14   (“IPPs”), filed a Motion to Strike Previously-Excluded Documents Attached Again to the

                                  15   Bonsignore Affidavit. ECF No. 4451 (“Mot.”). The motion asks the Court to strike certain

                                  16   documents filed by attorney Robert J. Bonsignore and to issue sanctions against him. On March 8,

                                  17   2016, Mr. Bonsignore filed a timely opposition. ECF No. 4471. The Court will GRANT the

                                  18   motion to strike and DENY the motion for sanctions.

                                  19   I.      BACKGROUND
                                  20           The evidence at issue has been disallowed on multiple separate occasions.

                                  21           On December 15, 2015, Mr. Bonsignore attempted to file a Joinder and Reply in Support

                                  22   of Objections before Special Master Martin Quinn. See ECF No. 4440-1, Ex. A. After Lead

                                  23   Counsel objected, Special Master Quinn denied leave to file a late reply. See ECF No. 4263

                                  24   (“Order”).

                                  25           On December 24, 2015, the Court received an objection to the Order. ECF No. 4263. On

                                  26   December 30, 2015, after reviewing the Order and the objection, the Court overruled the

                                  27   objection. See ECF No. 4274 at 2. Accordingly, the evidence attached to the late reply brief was

                                  28   never received by the Special Master, and the Special Master’s Order was adopted by the Court.
                                             Case 3:07-cv-05944-JST Document 4482 Filed 03/14/16 Page 2 of 4




                                   1            On January 7, 2016, Mr. Bonsignore again sought leave to submit the same documents

                                   2   disallowed in the Order. On January 21, 2016, the Special Master denied the request, calling Mr.

                                   3   Bonsignore’s request “a blatant end-run around the Court’s denial of [Mr. Bonsignore’s prior]

                                   4   request to submit this late ‘evidence.’” ECF No. 4329 (“R&R”) at 2. The Special Master levied

                                   5   sanctions against Mr. Bonsignore in the form of requiring him to pay “the entire fee charged by

                                   6   JAMS for the Special Master’s time in dealing with this request.” Id. The Court has previously

                                   7   adopted the R&R in its entirety. See ECF No. 4473.1

                                   8            Mr. Bonsignore has now attached the same documents to his objection to the Report and

                                   9   Recommendation at ECF No. 4351, which pertains to the pending IPP settlement. See ECF No.

                                  10   4440-1 (including attachments). This would appear to be Mr. Bonsignore’s fourth attempt to

                                  11   place these same documents before the Court.

                                  12   II.      LEGAL STANDARD
Northern District of California
 United States District Court




                                  13            “[D]istrict courts have inherent power to control their dockets . . . .” Atchison, Topeka &

                                  14   Santa Fe Ry. Co. v. Hercules Inc., 146 F.3d 1071, 1074 (9th Cir. 1998). The district judge “must

                                  15   issue a scheduling order . . . after consulting with the parties’ attorneys . . . at a scheduling

                                  16   conference . . . .” Fed. R. Civ. P. 16(b)(2). “Violations of a scheduling order [under Fed. R. Civ.

                                  17   P. 16(b)] may result in sanctions, including dismissal under Rule 37(b)(2)(C).” Dreith v. Nu

                                  18   Image, Inc., 648 F.3d 779, 787 (9th Cir. 2011) (quoting Atchison, 146 F.3d at 1073). “The

                                  19   Special Master shall have all the authority provided in Rule 53(c), including but not limited to the

                                  20   authority to . . . issue orders awarding non-contempt sanctions, including, without limitation, the

                                  21   award of attorneys’ fees, as provided by Rules 37 and 45. The Special Master may determine

                                  22   disputes arising from failing to abide by sanctions set forth by the Special Master.” See ECF No.

                                  23   4077 at 5. Federal Rule of Civil Procedure 53(c) provides that the Special Master may “regulate

                                  24
                                       1
                                  25     The Order appointing Special Master Quinn, ECF Nos. 4077, 4298 (amending ECF No. 4077),
                                       states that “[a]ny party wishing to file objections or a motion to adopt or modify the Special
                                  26   Master’s orders, reports and/or recommendations must file such objections or motion with the
                                       Court within 14 days from the day the Special Master filed the order, report, and/or
                                  27   recommendation via ECF.” ECF No. 4077. Mr. Bonsignore’s motion includes an objection to the
                                       sanction, but the objection was filed more than 14 days after issuance of the R&R. Accordingly,
                                  28   the objection is OVERRULED as untimely. Insofar as Mr. Bonsignore’s motion could be
                                       construed as requesting permission to file a late objection, the request is DENIED.
                                                                                          2
                                         Case 3:07-cv-05944-JST Document 4482 Filed 03/14/16 Page 3 of 4




                                   1   all proceedings” and “take all appropriate measures to perform the assigned duties fairly and

                                   2   efficiently.” See Fed. R. Civ. P. 53(c)(1)-(2).

                                   3          The Court applies the same law to Mr. Bonsignore’s attempt to introduce evidence in the

                                   4   district court evidence not considered by the Special Master as it would to an attempt to introduce

                                   5   evidence that had not been considered by a Magistrate Judge. Upon review of the opinion of a

                                   6   magistrate judge,

                                   7                  a district court has discretion, but is not required, to consider
                                                      evidence presented for the first time in a party’s objection to a
                                   8                  magistrate judge’s recommendation. We emphasize, however, that
                                                      in making a decision on whether to consider newly offered evidence,
                                   9                  the district court must actually exercise its discretion, rather than
                                                      summarily accepting or denying the motion.
                                  10

                                  11   United States v. Howell, 231 F.3d 615, 621-22 (9th Cir. 2000); see also Akhtar v. Mesa, 698 F.3d

                                  12   1202, 1208-09 (9th Cir. 2012) (applying Howell but noting an providing special consideration for
Northern District of California
 United States District Court




                                  13   pro se litigants); Sossa v. Diaz, 729 F.3d 1225, 1230-31 (9th Cir. 2013) (same); Warren v. Apker,

                                  14   615 F. App’x 443, 444 (9th Cir. Sept. 1, 2015) (applying Howell to find no abuse of discretion).

                                  15   III.   DISCUSSION
                                  16          Although the Court may have the power to consider for the first time evidence never

                                  17   considered by the Special Master, it is a power that should be exercised rarely and cautiously. The

                                  18   purpose of appointing a Special Master is not only to receive the benefit of his or her expertise, but

                                  19   also to reduce the evidence and issues that must be considered by the district court. “It would

                                  20   defeat this purpose if the district court was required to hear matters anew on issues never presented

                                  21   to the magistrate.” Borden v. Sec’y of Health & Human Servs., 836 F.2d 4, 6 (1st Cir. 1987)

                                  22   (observing also that “[p]arties must take before the magistrate, not only their ‘best shot’ but all of

                                  23   their shots” (citation omitted)).

                                  24          If the Court considers evidence that was not before the Special Master, it loses the benefit

                                  25   of the Special Master’s expertise, and it opens the process to the submission of an unlimited

                                  26   number of additional documents. This massive antitrust conspiracy has been pending for more

                                  27   than eight years. The docket contains more than 4400 entries, and it grows daily. Any sensible

                                  28   process to bring this case to resolution will be one that narrows, not expands, the matters for the
                                                                                          3
                                         Case 3:07-cv-05944-JST Document 4482 Filed 03/14/16 Page 4 of 4




                                   1   Court’s consideration. See Absolute Software, Inc. v. Stealth Signal, Inc., 659 F.3d 1121, 1131

                                   2   (Fed. Cir. 2011) (“A primary purpose of appointing a special master is to narrow the issues before

                                   3   the district court judge to facilitate an efficient and timely resolution of complex or highly-

                                   4   technical issues . . . .”). That this evidence was repeatedly struck by the Special Master militates

                                   5   even further away from the Court considering it, because it would unfairly disadvantage the many

                                   6   litigants in this case who have complied with the rules. The Court will grant the motion to strike.

                                   7          The motion for sanctions is denied. As previously noted, it is within the Court’s discretion

                                   8   to consider new evidence. By extension, therefore, it was permissible for Mr. Bonsignore to ask

                                   9   the Court to exercise that discretion. That the Court effectively has now denied his request does

                                  10   not mean his conduct was sanctionable.

                                  11                                             CONCLUSION
                                  12          The IPPs’ motion to strike is GRANTED. The IPPs’ motion for sanctions is DENIED.
Northern District of California
 United States District Court




                                  13          The Court also notes that several arguments in the briefs seemed directed less at the instant

                                  14   motion and more at influencing the Court’s evaluation of Special Master Quinn’s Report and

                                  15   Recommendation, ECF No. 4351. The Court has not considered the briefs for the latter purpose.

                                  16          IT IS SO ORDERED.

                                  17   Dated: March 14, 2016
                                                                                         ______________________________________
                                  18
                                                                                                       JON S. TIGAR
                                  19                                                             United States District Judge

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                          4
